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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF UTAH

                                                    LIFETIME PRODUCTS, INC.’S
  Lifetime Products, Inc.,
                                                    OPPOSITION TO CAMP CHEF’S
  a Utah Corporation,
                                                    MOTION TO SEAL ITS ANSWER AND
         Plaintiff,
                                                    COUNTERCLAIMS
  v.                                                Case No. 1:21-cv-00156-HCN-DAO

  Logan Outdoor Products, LLC, a Utah
  Limited Liability Company d/b/a Camp Chef,        District Judge Howard C. Nielson, Jr.
                                                    Magistrate Judge Daphne A. Oberg
         Defendant.


        In October 2021, Logan Outdoor Products, LLC (“Camp Chef”) publicly displayed its

 Apex Pellet Grill (the accused product in this case) at the National Hardware Show where

 thousands of individuals attended. It did so without taking any security measures to prevent the

 public from inspecting, observing, interacting with, or documenting the internal features of its

 product. Camp Chef let the proverbial cat out of the bag to buoy up the market for and

 commercialize its product; it cannot now magically put that cat back into the bag simply because

 Lifetime Products, Inc. (“Lifetime”) brought suit to enforce its patent rights. For these and other

 reasons, Camp Chef’s Motion to Seal (“Motion,” ECF No. 34) should be denied.
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 I.      FACTS

         Lifetime offers several popular residential products to consumers, including a

 combination grill and smoker (“Lifetime Grill”), which Lifetime has offered for sale since about

 May 2021. (See Compl. ¶¶ 7, 15.) Lifetime obtained U.S. Patent No. 10,292,531 (“the

 ’531 patent”), to protect the innovations in the Lifetime Grill and to prevent competitors, such as

 Camp Chef, from usurping Lifetime’s technology and free riding on Lifetime’s development

 efforts. (See id. ¶¶ 8–9, 15.)

         In October 2021, the National Hardware Show (“NHS”) occurred in Las Vegas, Nevada.

 (See id. ¶ 17.) Over 600 exhibitors participated in the 2021 event. (See National Hardware Show,

 2021 Exhibitor List, https://www.nationalhardwareshow.com/en-us/attend/2021-exhibitor-

 list.html (last visited Feb. 11, 2022).) Lifetime and Camp Chef were both among the exhibitors.

 (Id.) Over 25,000 industry professionals and over 120 media outlets typically attend. (See

 National Hardware Show, 2021 Exhibitor Prospectus 2 (last visited Feb. 11, 2022).) 1 According

 to NHS promotional materials, the NHS “is the one industry event where you are guaranteed to

 get your brand in front of retailers, wholesalers, distributors, mass merchants, online retailers, co-

 ops, independent retailers, big box retailers, and even MORE buyers.” (Id.)

         Camp Chef displayed, demonstrated, and offered for sale a combination grill and smoker

 product at the 2021 NHS, a product that Camp Chef admits was the Apex Pellet Grill configured

 with optional hybrid propane burners (“Apex Grill”). (See Compl. ¶ 17; Def.’s Answer ¶ 17;

 Def.’s Counterclaims ¶ 23.) Camp Chef did not display, demonstrate, or offer for sale the Apex

 Grill privately or solely behind closed doors; rather, Camp Chef displayed and demonstrated it



 1
  https://www.nationalhardwareshow.com/content/dam/sitebuilder/rna/national-hardware-
 show/2021/docs/nhs-exhibitor-prospectus.pdf.coredownload.070268384.pdf.

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 openly in the outdoors. (See National Hardware Show, Camp Chef Exhibitor Details (last visited

 Feb. 11, 2022) (indicating that Camp Chef’s exhibition space was “OUTDR5529,” meaning an

 outdoor space);2 see also Compl. ¶ 18 (providing images of the Apex Grill in the outdoor

 exhibition space).) Camp Chef did not try to prevent attendees from opening the upper lid of the

 Apex Grill and inspecting the internal features therein. (See Frye Decl. ¶ 10, Ex. 1.) Nor did

 Camp Chef restrict access by locking or otherwise physically restricting access to the internal

 features of the Apex Grill. (See id. ¶¶ 10–11.) In fact, it was just the opposite, Camp Chef openly

 and publicly displayed its new Apex Grill for the public to see and offered it for sale.

        After the NHS concluded, Christopher T. Metz, CEO and Director of Camp Chef’s

 corporate parent, Vista Outdoor Inc., stated on a second quarter earnings call that “Camp Chef

 unveiled their [sic] new Apex grill at the Hardware Show.” (Vista Outdoor Inc., Q2 2022

 Earnings Call Edited Transcript 5 (Nov. 4, 2021) (emphasis added).) 3 In the subsequent third

 quarter earnings call, Mr. Metz stated that “Camp Chef continues to focus on new product

 innovation with the spring launch of its Apex grill, expanding the brand’s leadership position and

 giving consumers its choice for wood pellet or propane fuel cooking in a single platform,” and

 that “[t]his innovation offers a breakthrough design . . . .” (Vista Outdoor Inc., Q3 2022 Earnings

 Call Transcript 4–5 (Feb. 3, 2022).) 4




 2
  https://www.nationalhardwareshow.com/en-us/attend/2021-exhibitor-list/exhibitor-details.org-
 65c8f2e8-6593-465e-b23f-e16ee181ac67.html#/
 3
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         On November 18, 2021, Lifetime filed this action to enforce its right to exclude Camp

 Chef from making, using, offering for sale, importing, and selling a product incorporating the

 technology claimed in the ’531 patent. (See Compl. ¶ 22.) On January 28, 2022, Camp Chef filed

 an Answer and Counterclaims with paragraph nos. 25–27 and 29 of its Counterclaims redacted.

 (Def.’s Answer & Counterclaims, ECF No. 28.) The redacted paragraphs appear within Camp

 Chef’s counterclaim for declaratory judgment of noninfringement, and generally attempt to

 explain how, in Camp Chef’s view, the Apex Grill’s design does not satisfy certain limitations of

 the claims of the ’531 patent. Camp Chef moved this Court to seal its Answer and

 Counterclaims, simply stating that “[t]he Motion is made on the ground that certain portions of

 Camp Chef’s Answer to Complaint and Counterclaims quote and contain portions of documents

 designated as CONFIDENTIAL INFORMATION – ATTORNEYS’ EYES ONLY pursuant to

 the Standard Protective Order and contain Camp Chef’s confidential, proprietary and

 sensitive/competitive technical and business information.” (Motion 2, ECF No. 30.)

         Following its Motion, Lifetime and Camp Chef jointly submitted their Attorney Planning

 Meeting Report (“APMR”). (ECF No. 33.) In the APMR, Camp Chef asserts that “as evidenced

 by Camp Chef’s Counterclaim for noninfringement and the attorneys’ eyes only design

 documentation that Camp Chef has produced to Lifetime . . . the products that Lifetime accuse of

 infringement fail to include at least the ‘first heat source . . . arranged to directly heat all of the

 cooking structure’ of claim 1 and related limitations in all the other claims of the ’531 patent. (Id.

 at 2.) In support of its position for phased discovery, Camp Chef stated that “the accused

 products are easy-to-understand backyard grills, [and] the configuration of those accused product

 [sic] is readily apparent from documents and an internal inspection . . . .” (Id. at 7.)




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 II.       LEGAL STANDARDS & REQUIREMENTS

           The Rule in this District for filing documents under seal is that “[t]he records of the court

 are presumptively open to the public.” DUCivR 5-3(a)(1). The Rule states that “[t]he sealing of

 pleadings . . . is highly discouraged.” Id. Only “[o]n motion of a party and a showing of good

 cause” may a judge order a document sealed. Id. A party cannot simply “designate documents as

 sealable” to overcome the presumption. See id. This District’s Local Rules further require that

 any motion to seal must “(A) be narrowly tailored to seek protection of only the specific

 information that the party alleges is truly deserving of protection; and (B) state the duration of

 the seal; and (C) state the statute, rule, case law, or reason supporting the sealing of the

 document . . . .” DUCivR 5-3(b)(2).

           The Tenth Circuit presumes that the interests of the public are paramount when weighed

 against interests advanced by the parties. See Helm v. Kansas, 656 F.3d 1277, 1292 (10th Cir.

 2011) (quoting Crystal Grower’s Corp. v. Dobbins, 616 F.2d 458, 461 (10th Cir. 1980)). To

 overcome the presumption of public access, a party has a “heavy burden” and “must articulate a

 real and substantial interest that justifies depriving the public of access to the records that inform

 [the court’s] decision-making process.” Id. at 1292–93. Parties cannot merely assert that

 documents are subject to a protective order and expect to overcome the presumption against

 sealing. Id. at 1292. Moreover, “[w]here documents are used to determine litigants’ substantive

 legal rights, a strong presumption of access attaches.” Colony Ins. Co. v. Burke, 698 F.3d 1222,

 1242 (10th Cir. 2012) (quoting Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir.

 2006)).




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 III.     CAMP CHEF LACKS ANY REAL AND SUBSTANTIAL INTEREST IN
          PREVENTING PUBLIC ACCESS TO INFORMATION ALREADY PUBLIC.

          Camp Chef’s choice to unveil, promote, market, and offer for sale its Apex Grill publicly

 at the NHS eviscerated any interest in preventing public access to the grill’s configuration. Camp

 Chef cannot reasonably assert that it retains a real and substantial interest in protecting the

 hardware configuration and design of the Apex Grill as a trade secret or confidential information.

 For information to qualify as a trade secret, it must not be “readily ascertainable by proper

 means . . . .” Utah Code § 13-24-2; Nev. Rev. Stat. § 600A.030; 18 U.S.C. § 1839(3). Comment

 in the Uniform Trade Secrets Act, upon which Utah and Nevada have based their statutes,

 provides that “[p]roper means include: . . . 4. Observation of the item in public use or on public

 display.” Uniform Trade Secrets Act § 1.

          The redacted information in Camp Chef’s counterclaim for declaratory judgment of

 noninfringement was readily ascertainable at the NHS. The information does not, for example,

 disclose hidden source code. Instead, the focus of Camp Chef’s redacted argument is that the

 configuration of the hardware in the Apex Grill precludes infringement. This hardware was

 readily ascertainable at the NHS. The Apex Grill was on open display at the NHS. (Frye Decl.

 ¶ 4.) In fact, when Lifetime employees walked into Camp Chef’s booth at the trade show, a

 Camp Chef employee openly discussed the features of the Apex Grill, opened the grill up, and

 showed the Lifetime employees the inside of the grill. (Id. ¶¶ 5, 11.) There were no restrictions

 surrounding the access to the Apex Grill. (See id. ¶¶ 6-8, 10-11.) In fact, Lifetime’s employees

 asked if they could photograph the Apex Grill and the Camp Chef employee explicitly allowed

 it. (Id. ¶ 8.)

          Camp Chef’s own statements support the proposition that the information Camp Chef

 seeks to seal was readily ascertainable. Camp Chef told the Court that “the accused products are


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 easy-to-understand backyard grills, [and] the configuration of those accused product [sic] is

 readily apparent from documents and an internal inspection . . . .” (APMR 7, ECF No. 33.) In

 effort to persuade the Court to phase discovery, Camp Chef described much of the information it

 earlier moved to seal:

                 As set forth in Camp Chef’s Counterclaim for Noninfringement, the
                 accused products do not include at least the following claim term: a
                 “first heat source . . . distributed across the cooking structure and
                 arranged to directly heat all of the cooking structure.” As shown by
                 the renderings in the Counterclaim, the accused products include
                 two portions of the cooking grate under which no burner is located
                 (and which are separated by a sheet metal wall).

 (Id. at 7–8.)

         In documents and communications beyond the instant Motion, Camp Chef and its

 counsel have asserted that these internal features have not yet been publicly disclosed. (See, e.g.,

 Pollock Decl. ¶ 3, ECF No. 34-1.) Even setting aside Camp Chef’s public statements to the Court

 in the APMR, these assertions are not plausible. Camp Chef admitted that it publicly

 demonstrated the Apex Grill. (Def.’s Answer ¶ 17.) Camp Chef further admitted that it offered

 two models of the Apex Grill for sale at the NHS. (Id.) In addition, the images taken at the NHS,

 with the permission from a Camp Chef employee and reproduced in Lifetime’s Complaint (see

 Compl. ¶ 18), demonstrate that the public was free to access the Apex Grill at the show,

 including opening the lid and inspecting the internal features therein. (See Frye Decl. ¶¶ 4, 6–8,

 10–11.)

         Precedent from case law also supports that Camp Chef destroyed any alleged interest

 keeping the readily ascertainable features of its product confidential after demonstrating it at a

 trade show. The Third Circuit, for example, has held that there was no trade secret interest in

 machines that were exhibited at a trade show. See Midland-Ross Corp. v. Yokana, 293 F.2d 411,

 413 (3rd Cir. 1961) (“Anybody could see what they were.”). Another court held that there was
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 no trade secret in a type of light because, inter alia, the inventor had displayed the light at a trade

 show. See Smith v. Healy, 744 F. Supp. 2d 1112, 1125 (D. Or. 2010); see also Yeiser Rsch. &

 Dev. LLC v. Teknor Apex Co., 281 F. Supp. 3d 1021, 1046 (S.D. Cal. 2017) (“Disclosure to the

 public through marketing and sales is fatal to the existence of a trade secret.”); Mobile Med. Int’l

 v. United States, 95 Fed. Cl. 706, 740 (2010) (“In summary, because plaintiff distributed or

 permitted the public display of its design layout, the design layout was readily ascertainable and

 plaintiff did not take reasonable efforts to maintain its secrecy.”).

        Without a trade secret or other interest in the information Camp Chef seeks to redact, it

 cannot have a real and substantial interest outweighing the presumptively paramount interest of

 the public. The Court should not allow Camp Chef to assert protection in features of a product

 that it already displayed to the public and should deny Camp Chef’s Motion on these grounds.

 IV.    CAMP CHEF’S STATEMENTS IN ITS MOTION ARE
        INSUFFICIENT TO OVERCOME THE PRESUMPTION OF PUBLIC ACCESS.

        Ignoring this District’s General Rule that motions to seal pleadings are “highly

 discouraged,” DUCivR 5-3(a)(1), Camp Chef makes only two statements in a single sentence in

 an attempt to justify its Motion. First, Camp Chef states that “certain portions of Camp Chef’s

 Answer to Complaint and Counterclaims quote and contain portions of documents designated as

 CONFIDENTIAL INFORMATION – ATTORNEYS’ EYES ONLY pursuant to the Standard

 Protective Order . . . .” (Motion 2.) Second, Camp Chef states that the “portions of

 documents . . . contain Camp Chef’s confidential, proprietary and sensitive/competitive technical

 and business information.” (Id.) As explained above and below, neither statement is sufficient to

 overcome the paramount, presumptive public interest in accessing court records.




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        A. Camp Chef’s Reliance on Its Own Unilateral
           Confidentiality Designation Under the Protective Order Is Insufficient.

        The Tenth Circuit has repeatedly and expressly rejected the argument that a court should

 grant a motion to seal because certain documents are designated as confidential under a

 protective order. See JetAway Aviation, LLC v. Bd. of Cty. Comm’rs of Cty. of Montrose, Colo.,

 754 F.3d 824, 826 (10th Cir. 2014) (quoting Helm, 656 F.3d at 1292; Colony Ins. Co., 698 F.3d

 at 1241–42). The JetAway court stated that “JetAway does not provide any basis for sealing the

 identified documents; instead, it merely states that the documents were filed under seal in the

 district court pursuant to a protective order and requests that this court maintain the status quo.”

 Id. Finding that the movant had only stated that “parties anticipated the production of

 confidential and proprietary information during discovery,” the JetAway court held that

 “generalized allusion to confidential information is woefully inadequate to meet JetAway’s

 ‘heavy burden.’” Id. (quoting Helm, 656 at 1292–93).

        Camp Chef’s reliance on its own designation under this Court’s Standard Protective

 Order is likewise “woefully inadequate.” Such an assertion cannot suffice to outweigh the public

 interest in accessing court records. The purpose of the Standard Protective Order is to prevent

 unnecessary delay in discovery and “to secure the just, speedy, and inexpensive determination of

 every action.” DUCivR 26-2(a). Its purpose is not to subvert the paramount interest of the public

 to access court records.

        B. Camp Chef Cannot Simply Declare, ipso facto, that the Information Is Confidential.

        Camp Chef states that the portions of the Answer it seeks to hide from public view

 “contain Camp Chef’s confidential, proprietary and sensitive/competitive technical and business

 information.” (Motion 2.) Camp Chef does not explain how or why the underlying information is

 confidential, proprietary, sensitive, competitive, or technical business information, despite


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 having already publicly shown the grill. Such a declaration, without explanation, is insufficient

 to outweigh the public interest, particularly where, as here, Camp Chef relies upon the sealed

 portions to assert its substantive legal rights and invoke this Court’s declaratory judgment

 jurisdiction in a pleading. See Colony Ins. Co., 698 F.3d at 1242.

        In Colony Insurance Co., the parties sought to seal documents because “they involve the

 terms of confidential settlement agreements and/or they were filed under seal in the district

 court.” 698 F.3d at 1241. The Colony court found that there were no “specific argument or facts

 indicating why the confidentiality of their settlement agreements outweighs the presumption of

 public access,” and remained unconvinced that the public interest was outweighed because “[t]he

 parties themselves placed these settlements at the center of this controversy, in particular through

 [one party’s] counterclaim . . . .” Id. Camp Chef has placed the information it now seeks to have

 sealed at the center of this controversy, basing its counterclaim and invocation of this Court’s

 declaratory judgment jurisdiction on its allegedly confidential information.

        C. Camp Chef Failed to Even Meet the Procedural Requirements of Its Motion.

        Local Civil Rule 5-3(b)(2) requires that every motion to seal must “(B) state the duration

 of the seal; and (C) state the statute, rule, case law, or reason supporting the sealing of the

 document . . . .” Camp Chef failed to state any proposed duration of the seal required under

 subsection (B), and Camp Chef did not state any statute, rule, case law supporting the sealing of

 the document under subsection (C). And, even assuming that Camp Chef provided a “reason”

 under subsection (C) by way of its two statements in single sentence, neither of those is

 sufficient reason under existing precedent and Camp Chef’s prior public disclosure of the Apex

 Grill as explained above. (See supra §§ III–IV.)

 V.     CONCLUSION

        For at least the foregoing reasons, the Court should deny Camp Chef’s Motion.

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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing was served on February 11, 2022,

 via e-mail and the Court’s electronic notification system to the following counsel of record:

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